            Case 2:19-cv-01745-JLR Document 107 Filed 01/11/21 Page 1 of 4




 1                                                                      The Honorable James L. Robart
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 8                             UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF WASHINGTON AT SEATTLE
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10      PHILIPS NORTH AMERICA LLC, a                          NO.    2:19-cv-01745-JLR
        Delaware Company; KONINKLIJKE PHILIPS
11      N.V., a Company of the Netherlands; and               STIPULATED MOTION AND
        PHILIPS INDIA, LTD., an Indian Company,
12                                                            [PROPOSED] ORDER REGARDING
                          Plaintiffs,                         INITIAL EXPERT DISCLOSURE
13                                                            DATE
                 vs.
14
                                                              NOTE ON MOTION CALENDAR:
        SUMMIT IMAGING INC., a Washington                     January 8, 2021
15      Corporation; LAWRENCE R. NGUYEN, an
        individual; and DOES 1-10, inclusive,
16
        Defendants.
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                                           I.      STIPULATION
19
            Plaintiffs Philips North America LLC, Koninklijke Philips N.V. and Philips India, Ltd.
20
     and Defendants Summit Imaging, Inc. and Lawrence R. Nguyen, by and through their
21

22   undersigned counsel of record, hereby stipulate and agree as follows:

23          1.         Under the current Minute Order Setting Trial Dates and Related Dates, the
24   disclosure of expert testimony under FRCP 26(a)(2) is due by January 18, 2021. ECF-71.
25
            2.         In light of ongoing discovery, the parties are agreed—subject to the Court’s
26
     approval—that the date for initial expert disclosure shall be extended to January 25, 2021.
27
                                                                           SAVITT BRUCE & WILLEY LLP
      STIPULATED MOTION AND ORDER REGARDING
                                                                           1425 Fourth Avenue Suite 800
      INITIAL EXPERT DISCLOSURE DATE - 1
                                                                          Seattle, Washington 98101-2272
      (No. 2:19-cv-01745-JLR)
                                                                                   (206) 749-0500
          Case 2:19-cv-01745-JLR Document 107 Filed 01/11/21 Page 2 of 4




 1        SO STIPULATED AND AGREED: January 8, 2021.
 2
                                       SAVITT BRUCE & WILLEY LLP
 3
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                                       Attorneys for Plaintiffs Koninklijke Philips N.V.,
25
                                       Philips North America LLC, and
26                                     Philips India, Ltd.

27
                                                             SAVITT BRUCE & WILLEY LLP
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          Case 2:19-cv-01745-JLR Document 107 Filed 01/11/21 Page 3 of 4




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10
                                       and Lawrence R. Nguyen
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                                                             SAVITT BRUCE & WILLEY LLP
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          Case 2:19-cv-01745-JLR Document 107 Filed 01/11/21 Page 4 of 4




 1                                    II.     ORDER
 2
          It is so ORDERED.
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          DATED:         January 11         , 2021.
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 6                                                     A
                                                      The Honorable James L. Robart
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                                                                   SAVITT BRUCE & WILLEY LLP
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